                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE




 BOYD SMITH, et al.,                                   )
                                                       )
                Plaintiffs,                            )
                                                       )
 v.                                                    )      No. 3:04-CV-591
                                                       )      (JARVIS/GUYTON)
 FIRST CENTURY BANK, et al.,                           )
                                                       )
                Defendants.                            )



                                MEMORANDUM AND ORDER

                This matter is before the undersigned pursuant to the provisions of 28 U.S.C. §636(b),

 the Rules of this Court, and by Order [Docs. 96, 104, 123] of the Honorable James H. Jarvis, United

 States District Judge, for disposition of Plaintiffs’ Motion to Compel the Production of Documents

 and Information from Defendant First Century Bank [Doc. 94]; Defendant Deloris Graves’ Motion

 for a Protective Order [Doc. 103]; and Defendant First Century Bank’s Motion for Leave to Serve

 More Than 25 Interrogatories [Doc. 122]. The Court held a status conference on these motions on

 March 7, 2006.

                For the reasons set forth below, Defendant Deloris Graves’ Motion for a Protective

 Order [Doc. 103] is DENIED and Plaintiffs’ Motion to Compel the Production of Documents and

 Information from Defendant First Century Bank [Doc. 94] is GRANTED IN PART and DENIED

 IN PART.      Defendant First Century Bank’s Motion for Leave to Serve More Than 25

 Interrogatories [Doc. 122] is GRANTED.




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 I.     Plaintiff’s Motion to Compel/Defendant Graves’ Motion for Protective Order

        A.      Plaintiffs’ Request No. 4 – Graves’ Personnel File

                At the status conference, the parties announced that counsel for the plaintiffs has

 reviewed the defendant Deloris Graves’ personnel file, and that Graves has agreed to produce certain

 documents from that file. With respect to any credit reports, the parties have agreed that these

 documents should be produced for attorney’s eyes only and not delivered to the plaintiffs

 themselves. The plaintiffs’ attorney shall be permitted to show the credit reports to experts and to

 use the reports as exhibits to motions or in depositions, as long as the reports are placed under seal.

                As the parties have resolved their discovery dispute regarding Graves’ personnel file,

 Defendant Deloris Graves’ Motion for a Protective Order [Doc. 103] with respect to this request is

 moot and is therefore DENIED AS MOOT. Furthermore, the plaintiffs’ Motion to Compel the

 production of Graves’ personnel file [Doc. 94] is DENIED AS MOOT.

        B.      Plaintiffs’ Request No. 6 – Account and Loan Records

                The parties have been unable to reach an agreement with respect to No. 6 in the

 Plaintiffs’ Third Discovery Requests to Defendant First Century Bank, which states as follows:

                Produce the complete files of the Bank for accounts and loans of
                Connie Dyer, her (former) husband Gregory Dyer, Connie Dyer’s
                parents Edward and Danna Smith, Deloris Graves, Sheri Lawson,
                Karen Williams, and any other immediate family members of Connie
                Dyer, Deloris Graves, Sheri Lawson, and Karen Williams.

 [Doc. 95 Ex. E]. Defendant First Century Bank objects to producing this information, arguing that

 the plaintiffs are engaging in a fishing expedition and that the documents are not relevant to any

 claim or defense in this action. Defendant Graves also objects [Doc. 103] to the production of her

 account and loan files, as well as the files of her immediate family members, on the grounds that the


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 request seeks confidential information; that it is unduly invasive; that the family members have not

 been notified of this request, nor have they authorized the release of their records; and that the

 request is overbroad.

                 In response, the plaintiffs argue that these documents are necessary in order for the

 plaintiffs to show (1) that a conspiracy to defraud existed between the individual defendants; (2) that

 the defendants had a motive and the opportunity to steal funds; and (3) that the Bank had or should

 have had notice of these fraudulent transactions. In essence, the plaintiffs contend that this

 discovery is necessary in order to show where the plaintiffs’ stolen funds were diverted. The

 plaintiffs have agreed to limit their request to records from 1988 to the present. Finally, the

 plaintiffs note that a protective order is already in place.

                 The parties to a civil action “may obtain discovery regarding any matter, not

 privileged, that is relevant to the claim or defense of any party . . . .” Fed. R. Civ. P. 26(b)(1). The

 Rule further provides that information that is relevant “need not be admissible at the trial if the

 discovery appears reasonably calculated to lead to the discovery of admissible evidence.” Id. The

 Court finds that the plaintiffs’ discovery request appears reasonably calculated to lead to the

 discovery of admissible evidence. The Court further finds that the defendants’ stated privacy

 concerns are adequately protected by the protective order that has already been entered in this case.

 Accordingly, the Plaintiff’s Motion to Compel [Doc. 94] a response to Request No. 6 is

 GRANTED. Defendant Deloris Graves’ Motion for Protective Order [Doc. 103] with respect to

 this issue is DENIED. The defendants shall produce the requested information on or before April

 7, 2006.




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 II.    Defendant’s Motion for Leave to Serve More Than 25 Interrogatories

                The defendant First Century Bank moves the Court for leave to serve the plaintiffs

 with more than 25 interrogatories. [Doc. 122]. Counsel for the plaintiffs stated at the status

 conference that the plaintiffs do not oppose the defendant’s motion.

                Accordingly, for good cause shown, Defendant First Century Bank’s Motion for

 Leave to Serve More Than 25 Interrogatories [Doc. 122] is GRANTED. First Century Bank shall

 have leave to serve on the plaintiffs up to fifty (50) interrogatories.

                IT IS SO ORDERED.

                                                ENTER:


                                                      s/ H. Bruce Guyton
                                                United States Magistrate Judge




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